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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


JAMES BARR, MARY BIRDOES, JEFF                       Case No. 1:20-CV-11492
BOWLIN, and RYAN LANDIS, on behalf of
themselves all other persons similarly situated,
                                                     The Honorable Leo T. Sorokin
                               Plaintiffs,           Magistrate Judge Donald L. Cabell

                       vs.

DRIZLY, LLC f/k/a DRIZLY, INC., and
THE DRIZLY GROUP, INC.,

                               Defendants.


                              ORDER AWARDING
             ATTORNEYS’ FEES, EXPENSES, AND AN INCENTIVE AWARD

       This matter came before the Court for a duly-noticed hearing on October 26, 2021 (the

“Fairness Hearing”), upon Class Counsel’s Motion for Award of Attorneys’ Fees and Expenses,

and Plaintiffs’ Application for an Incentive Award (the “Fee and Expense Application”) in the

above-captioned action (“Action”). The Court has considered the Fee and Expense Application

and all supporting and other related materials, including the matters presented at the Fairness

Hearing. Due and adequate notice of the Stipulation and Agreement of Settlement with Defendants

Drizly, LLC f/k/a Drizly, Inc. and The Drizly Group, Inc. (collectively, “Drizly”) entered into on

March 26, 2021 (the “Settlement Agreement”)1 having been given to the Settlement Class

Members, the Fairness Hearing having been held, and the Court having considered all papers filed

and proceedings held herein and otherwise being fully informed in the premises and good cause

appearing therefore,


       1
          Unless otherwise defined herein, all capitalized terms used have the meanings set forth and
defined in the Settlement Agreement.
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       IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       1.        This Court has personal jurisdiction over Plaintiffs, Drizly, and all Settlement Class

Members, and subject matter jurisdiction over the Action to approve the Settlement Agreement

and all exhibits attached thereto.

       2.        Notice of the Fee and Expense Application was provided to potential Settlement

Class Members in a reasonable manner, and such notice complies with Rule 23(h)(1) of the Federal

Rules of Civil Procedure and due process requirements.

       3.        Class Counsel is hereby awarded attorneys’ fees in the amount of $1,186,967.05,

which shall be paid by Drizly. Such payment shall be made pursuant to the terms of the Settlement

Agreement.

       4.        Class Counsel is hereby awarded expenses in the amount of $13,032.95, which shall

be paid by Drizly. Such payment shall be made pursuant to the terms of the Settlement Agreement.

       5.        Plaintiffs James Barr, Mary Birdoes, Jeff Bowlin, and Ryan Landis are awarded

$8,000.00, to share equally as an Incentive Award in recognition of their efforts on behalf of the

Settlement Class, which shall be paid by Drizly. Such payment shall be made pursuant to the terms

of the Settlement Agreement.

       6.        Class Counsel is hereby authorized to allocate the attorneys’ fees award among

Class Counsel in a manner in which, in Class Counsel’s judgment, reflects the contributions of

such counsel to the prosecution and settlement of the Action.

       7.        In making these awards, the Court has considered and found that:

                 a.      Class Counsel have prosecuted the Action and achieved the Settlement with

            skill, perseverance, and diligent advocacy;




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                 b.      The Action involves numerous complex factual and legal issues and was

            actively litigated and, in the absence of a settlement, would have involved lengthy

            proceedings with uncertain resolution of the numerous complex factual and legal issues;

                 c.      Had Class Counsel not achieved the Settlement, a risk would remain that

            Plaintiffs and the Settlement Class may have recovered less or nothing from Drizly;

                 d.      Public policy considerations support the requested fee, as only a small

            number of firms have the requisite expertise and resources to successfully prosecute cases

            such as the Action;

                 e.      Notice was disseminated stating that Class Counsel would be moving for

            attorneys’ fees and expenses in an amount not to exceed $1,200,000, and that named

            Plaintiffs would be seeking an Incentive Award in an amount no greater than $2,000 for

            each named Plaintiff; and

                 f.      The attorneys’ fee award is fair, reasonable, appropriate and consistent with

            the awards in similar cases, and represents a reasonable multiplier on Class Counsel’s

            lodestar, in view of the applicable legal principles and the particular facts and

            circumstances of the Action.

       8.        In the event that the Settlement is terminated or the Effective Date does not occur

in accordance with the terms of the Settlement, this Order shall be null and void, of no further

force or effect, and without prejudice to any of the Parties, and may not be introduced as evidence

or used in any actions or proceedings by any Person against the Parties.

       9.        Pursuant to Section 5(C) of the Settlement Agreement, the Fee and Expense

Application is independent of the Court’s consideration of the fairness, reasonableness, and

adequacy of the Settlement.



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       10.     The awards to Class Counsel and Plaintiffs herein must be paid to Class Counsel

by Drizly within fourteen (14) days following entry of this Order, subject to the terms, conditions,

and obligations of the Settlement Agreement which terms, conditions, and obligations are

incorporated herein.

       IT IS SO ORDERED.

                   November 4,
       Date: _____________________, 2021.

                                                       /s/ Leo T. Sorokin
                                                      ______________________________
                                                      HONORABLE LEO T. SOROKIN
                                                      UNITED STATES DISTRICT JUDGE




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